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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA


IN RE FEMA TRAILER                                      *            MDL NO. 1873
FORMALDEHYDE PRODUCTS                                   *
LIABILITY LITIGATION                                    *            SECTION N (5)
                                                        *
                                                        *            JUDGE ENGELHARDT
                                                        *
THIS DOCUMENT RELATES TO                                *            MAGISTRATE CHASEZ
Kimberlyn Manuel v. Jayco, Inc.                         *
Case No. 09-8333                                        *

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                            PLAINTIFFS’ NOTICE OF VOLUNTARY
                             DISMISSAL UNDER FRCP 41(a)(1)(A)(i)


            NOW INTO COURT, through undersigned counsel, comes plaintiff herein, who,

   pursuant to the provisions of Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure,

   hereby voluntarily dismisses the above captioned matter as this instant suit is duplicative

   of a previously filed complaint, Kimberlyn Lambert-Manuel; Amelia Francis v. Jayco,

   Inc. 2:09-cv-5526 (Prior to MDL transfer order, Middle District Case No. 3:09-cv-0426).

   Both cases involve the same substantive allegations against defendant Jayco, Inc.

   Plaintiff Kimberlyn Manuel was inadvertently named in the second lawsuit filed

   December 29, 2009 (a PTO 40 Amended Complaint).



                1. Case No. 2:09-cv-5526 was filed August 17, 2009

                2. Case No. 2:09-cv-8333 was filed December 29, 2009 1



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     Plaintiff was moved from Master Complaint 2:09-cv-4076 KDE-ALC to 2:09-cv-8333 December 29, 2009. This was
   unnecessary as Plaintiff was already named on a matched complaint (2:09-cv-5526) filed August 17, 2009.
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       Accordingly, Named Plaintiff seeks to voluntarily dismiss the above captioned

matter, while reserving all rights and allegations in Kimberlyn Lambert-Manuel; Amelia

Franics v. Jayco, Inc., et al, 2:09-cv-5526 (E.D. LA. 2009).



                                              Respectfully submitted,

                                              BY:     /s/ Lawrence J. Centola, Jr.
                                                    LAWRENCE J. CENTOLA, JR.
                                              Lawrence J. Centola, Jr., LA Bar #3962

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                             CERTIFICATE OF SERVICE


       I hereby certify that on June 18, 2010 I electronically filed the forgoing with the

Clerk of Court by using the CM/ECF system which will send a notice of electronic filing

to all counsel of record who are CM/ECF participants. I further certify that I mailed the

forgoing documents and a notice of electronic filing by first class mail to all counsel on

record who are non-CM/ECF participants. No non-CM/ECF Participants.

                                              s/ Lawrence J. Centola, Jr.
